                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                              No. CR17-2084-LTS
 vs.                                        ORDER ACCEPTING MAGISTRATE
                                                 JUDGE’S REPORT AND
 JEFFERY WESTBERG, a/k/a Slim,              RECOMMENDATION REGARDING
                                              DEFENDANT’S GUILTY PLEA
              Defendant.
                                 ____________________


                                   I. BACKGROUND
       On November 15, 2017, defendant was charged in Count 1 of a three-count
indictment.   On April 25, 2018, defendant appeared before the Honorable C.J.
Williams, Chief United States Magistrate Judge, and entered a plea of guilty to Count 1
of the indictment.         On April 26, 2018, Judge Williams filed a Report and
Recommendation (R&R) in which he recommended that defendant’s guilty plea be
accepted. Doc. No. 125. No objections to the R&R were filed. I therefore undertake
the necessary review of Judge Williams’ recommendation to accept defendant’s plea in
this case.


                             II. APPLICABLE STANDARDS
       A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and
       recommendations as provided by rules of court. A judge of the court
       shall make a de novo determination of those portions of the report or
       specified proposed findings or recommendations to which objection is
       made. A judge of the court may accept, reject, or modify, in whole or in
       part, the findings or recommendations made by the magistrate judge. The
       judge may also receive further evidence or recommit the matter to the
       magistrate judge with instructions.
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28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that
portion.
       Any portions of an R&R to which no objections have been made must be
reviewed under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon,
73 F.3d 793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district
court judge] would only have to review the findings of the magistrate judge for clear
error”). As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when
although there is evidence to support it, the reviewing court on the entire evidence is
left with the definite and firm conviction that a mistake has been committed.”
Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States
v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). However, a district judge may elect
to review an R&R under a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of
       any issue need only ask. Moreover, while the statute does not require the
       judge to review an issue de novo if no objections are filed, it does not
       preclude further review by the district judge, sua sponte or at the request
       of a party, under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                     III. DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error.
Based on that review, I am not “left with the definite and firm conviction that a mistake
has been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the
R&R without modification and accept defendant’s plea of guilty in this case as to Count
1 of the indictment.1

1
 United States v. Cortez-Hernandez, 673 F. App’x 587 (8th Cir. 2016) (per curiam), suggests that
a defendant may have the right to de novo review of a magistrate judge’s recommendation to
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       IT IS SO ORDERED.
       DATED this 11th day of May, 2018.




                                             __________________________
                                             Leonard T. Strand, Chief Judge




accept a plea of guilty even if no objection is filed. But see 28 U.S.C. § 636(b)(1); Fed. R. Crim.
P. 59(b). I will undertake a de novo review of the R&R if a written request for such review is
filed within seven (7) days after this order is filed.

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